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 6 Attorneys for Plaintiff
   United States of America
 7
 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          Case No. 2:12-cr-0169 MCE

12                                   Plaintiff,         STIPULATION AND ORDER RESETTING
                                                        SENTENCING HEARING FOR DEFENDANT
13                             v.                       MIKEL BROWN

14   MICHAEL LOTT, et al.,

15                                   Defendants.

16

17                                                 STIPULATION

18           Plaintiff United States of America, by and through its counsel of record, and defendant Mikel

19 BROWN, by and through his counsel of record, Ron Peters, Esq., stipulate and agree that the currently-

20 scheduled judgment and sentencing hearing for this defendant, currently set for April 3, 2014, should be
21 moved to April 24, 2014, at 9:00 a.m.

22            IT IS SO STIPULATED.

23
24
     Dated: April 2, 2014                                 /s/ JASON HITT
25                                                        JASON HITT
                                                          Assistant United States Attorney
26
     Dated: April 2, 2014                                 /s/ RON PETERS, Esq.
27                                                        RON PETERS, Esq.
                                                          Counsel for Defendant, authorized to sign for Mr. Peters on
28                                                        April 2, 2014



       STIPULATION AND ORDER
            Case 2:12-cr-00169-TLN Document 232 Filed 04/14/14 Page 2 of 2


 1                                              ORDER
 2        Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3           1. The judgment and sentencing hearing for defendant Mikel BROWN on April 3, 2014, is
 4              VACATED; and
 5           2. Judgment and sentencing for defendant BROWN is for April 24, 2014, at 9:00 a.m.
 6         IT IS SO ORDERED.
 7 Dated: April 8, 2014

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